              Case 17-15021-pmm                        Doc          Filed 04/17/24 Entered 04/17/24 15:50:49                                Desc Main
   Fill in this information to identify the case:                   Document      Page 1 of 7
Debtor 1                 Torre L. Adams
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1715021
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             4
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           06/01/2024
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             706.50
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      7 ____
                                                                    ____ 4 ____
                                                                            5 ____
                                                                                2

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           451.16
                Current escrow payment: $ _________________                                                                       465.01
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                Torre L. Adams                                                                        1715021
      Case
      Debtor 1 17-15021-pmm               Doc Filed       04/17/24 Entered 04/17/24
                ________________________________________________________
                First Name     Middle Name       Last Name
                                                                              Case number (if 15:50:49          Desc Main
                                                                                              known) ______________________

                                                Document           Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Megan McAfee
      ______________________________________________________________
      Signature
                                                                                      04/17/2024
                                                                                Date _______________




 Print:______________________________________________________________
        McAfee, Megan                                                            VP of Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            P.O. Box 1629
            _____________________________________________________________
            Address 2

             Minneapolis                             MN      55440-9790
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
          Case 17-15021-pmm             Doc       Filed 04/17/24 Entered 04/17/24 15:50:49                    Desc Main
                                                  Document
                      UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                   Eastern District of Pennsylvania


                                                    Chapter 13 No. 1715021
                                                    Judge: Patricia M. Mayer

In re:
Torre L. Adams
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before April 18, 2024 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Torre L. Adams
                                     7941 Pickering Street

                                     Philadelphia PA 19150



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    MICHAEL A. CATALDO
                                    Gellert Scali Busenkell & Brown, LLC
                                    901 Market Street Suite 3020

                                    Philadelphia PA 19107


                                    By Court's CM/ECF system registered email address
                                    N/A




Trustee:                            By Court's CM/ECF system registered email address
                                     KENNETH E. WEST
                                     Office of the Chapter 13 Standing Trustee
                                     1234 Market Street - Suite 1813

                                     Philadelphia PA 19107

                                                             _______________________________________________
                                                             /s/Megan McAfee
                                                             VP of Loan Documentation
                                                             Wells Fargo Bank, N.A.
         Case 17-15021-pmm                   Doc        Filed 04/17/24 Entered 04/17/24 15:50:49 Desc Main
                 Return Mail Operations                 Document      Page 4 ofEscrow
                                                                                7     Review Statement
                 PO Box 14547                                                            For informational purposes only
                 Des Moines, IA 50306-4547
                                                                                         Statement Date:                                   April 12, 2024
                                                                                         Loan number:
                                                                                         Property address:
                                                                                              7941 PICKERING AVE
                                                                                              PHILADELPHIA PA 19150


                                                                                         Customer Service
                                                                                               Online                          Telephone
                                                                                               wellsfargo.com                  1-800-340-0473
          TORRE L ADAMS
                                                                                               Correspondence                  Hours of operation
          7941 PICKERING AVE                                                                   PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          PHILADELPHIA PA 19150-1329                                                           Des Moines, IA 50306
                                                                                               To learn more, go to:
                                                                                               wellsfargo.com/escrow


                                                                                                 We accept telecommunications relay service calls



If you are in an active bankruptcy case or have received a discharge under the United
States Bankruptcy Code, this statement is being sent to you for informational
purposes only. The informational summaries below are based on the terms of the
loan.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
                                                                                           The escrow account has a shortage of
will be enough money to make these payments. Once the review is complete, we send                       $919.84
the escrow review statement, also known as the escrow account disclosure statement.

Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to
        fall below the required minimum balance. This means there is a shortage.

     • Payments: As of the June 1, 2024 payment, the escrow portion of the
        payment increases.



 Part 1 - Mortgage payment

 New Payment                   The new total payment will be $706.50
                                Previous payment through New payment beginning with
                                05/01/2024 payment date   the 06/01/2024 payment
                                                                                                     No action required
Principal and/or interest                 $241.49                   $241.49

Escrow payment                             $451.16                  $465.01             Starting June 1, 2024 the new payment amount
Total payment amount
                                                                                        will be $706.50
                                         $692.65                  $706.50


                                                                                        Note: Since a bill pay or third-party payment service is
                                                                                        used, please remember to adjust the mortgage payment
                                                                                        amount.




                                                  See the following pages for more detail.
                                                                                                                                             Page 2 of 3
        Case 17-15021-pmm                   Doc        Filed 04/17/24 Entered 04/17/24 15:50:49    Desc Main
                                                                                              Loan Number:
                                                       Document      Page 5 of 7
    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $5,272.08. For the coming year, we expect the amount paid from escrow to be
$5,273.47.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                   06/21 - 05/22     06/22 - 05/23 06/23 - 04/24         06/24 - 05/25
                                                                                                                      # of               escrow
                                     (Actual)          (Actual)      (Actual)             (Projected)
                                                                                                                     months              amount

Property taxes                          $2,201.89         $2,858.39         $2,858.39        $2,858.39        ÷         12       =          $238.20
Property insurance                      $2,084.00         $2,146.00         $2,261.00        $2,261.00        ÷         12       =          $188.42
Total taxes and insurance               $4,285.89         $5,004.39          $5,119.39       $5,119.39        ÷         12       =         $426.62
Escrow shortage                             $0.00             $79.97        $1,022.03         $919.84         ÷         36       =           $25.55
Mortgage insurance                         $216.97           $192.21          $152.69          $154.08        ÷         12       =            $12.84

Total escrow                            $4,502.86          $5,276.57         $6,294.11       $6,193.31                                      $465.01


Projected escrow account activity over the next 12 months

To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 4 - Escrow account projections
Lowest projected escrow balance March 2025                                      -$66.61           table)

Minimum balance for the escrow account†                             -          $853.23


Escrow shortage                                                     =         -$919.84




†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance as allowed by state laws and/or the mortgage
contract. The cash reserve amount does not include mortgage insurance. This account is set to a 2 month cash reserve amount. To calculate the cash
reserve for the escrow account, we add the yearly escrow payments, and divide by 6.
           Case 17-15021-pmm                  Doc         Filed 04/17/24 Entered 04/17/24 15:50:49 Desc Main Page 3 of 3
                                                          Document      Page 6 of 7              Loan Number:



  Part 3 - Escrow account history
Escrow account activity from April 2023 to May 2024
                   Deposits to escrow                     Payments from escrow                                                     Escrow balance
   Date       Actual  Projected Difference            Actual   Projected Difference                Description           Actual       Projected Difference
Apr 2023                                                                                   Starting Balance                $287.64
Apr 2023        $373.62                                  $0.00                                                             $661.26

May 2023         $0.00                                   $15.13                            FHA INSURANC                    $646.13

Jun 2023        $453.45       $432.16      $21.29        $0.00        $15.13      -$15.13 FHA Insurance                  $1,099.58     $2,085.19       -$985.61

Jun 2023         $0.00            $0.00     $0.00        $15.13       $0.00       $15.13 FHA Insurance                   $1,084.45     $2,085.19     -$1,000.74

Jul 2023        $453.45       $432.16      $21.29        $0.00        $15.13      -$15.13 FHA Insurance                  $1,537.90     $2,502.22      -$964.32

Jul 2023         $0.00            $0.00     $0.00        $15.13       $0.00       $15.13 FHA Insurance                   $1,522.77     $2,502.22       -$979.45

Aug 2023        $453.45       $432.16      $21.29        $0.00        $15.13      -$15.13 FHA Insurance                  $1,976.22     $2,919.25      -$943.03

Aug 2023         $0.00            $0.00     $0.00        $15.13       $0.00       $15.13 FHA Insurance                   $1,961.09     $2,919.25       -$958.16

Sep 2023        $453.45       $432.16      $21.29        $0.00        $15.13      -$15.13 FHA Insurance                  $2,414.54     $3,336.28       -$921.74

Sep 2023         $0.00            $0.00     $0.00        $15.13       $0.00       $15.13 FHA Insurance                   $2,399.41     $3,336.28      -$936.87

Oct 2023        $453.45       $432.16      $21.29        $15.13       $15.13      $0.00 FHA Insurance                    $2,837.73     $3,753.31       -$915.58

Nov 2023        $451.16       $432.16      $19.00        $0.00        $15.13      -$15.13 FHA Insurance                  $3,288.89     $4,170.34       -$881.45

Nov 2023         $0.00            $0.00     $0.00        $12.84       $0.00       $12.84 FHA Insurance                   $3,276.05     $4,170.34      -$894.29

Nov 2023         $0.00            $0.00     $0.00     $2,261.00       $0.00    $2,261.00 AMERICAN SECURITY INS CO        $1,015.05     $4,170.34     -$3,155.29

Dec 2023        $451.16       $432.16      $19.00        $0.00        $15.13      -$15.13 FHA Insurance                  $1,466.21     $4,587.37      -$3,121.16

Dec 2023         $0.00            $0.00     $0.00        $0.00    $2,146.00    -$2,146.00 AMERICAN SECURITY INS CO       $1,466.21     $2,441.37       -$975.16

Dec 2023         $0.00            $0.00     $0.00        $12.84       $0.00       $12.84 FHA Insurance                   $1,453.37     $2,441.37      -$988.00

Jan 2024        $451.16       $432.16      $19.00        $0.00        $15.13      -$15.13 FHA Insurance                  $1,904.53     $2,858.40       -$953.87

Jan 2024         $0.00            $0.00     $0.00        $12.84       $0.00       $12.84 FHA Insurance                   $1,891.69     $2,858.40       -$966.71

Feb 2024        $451.16       $432.16      $19.00        $0.00        $15.13      -$15.13 FHA Insurance                  $2,342.85     $3,275.43      -$932.58

Feb 2024         $0.00            $0.00     $0.00        $12.84       $0.00       $12.84 FHA Insurance                   $2,330.01     $3,275.43      -$945.42

Mar 2024        $451.16       $432.16      $19.00        $0.00        $15.13      -$15.13 FHA Insurance                   $2,781.17    $3,692.46       -$911.29

Mar 2024         $0.00            $0.00     $0.00     $2,858.39   $2,858.39       $0.00 PHILADELPHIA CITY                  -$77.22      $834.07        -$911.29

Mar 2024         $0.00            $0.00     $0.00        $12.84       $0.00       $12.84 FHA Insurance                     -$90.06      $834.07        -$924.13

Apr 2024        $451.16       $432.16      $19.00        $0.00        $15.13      -$15.13 FHA Insurance                    $361.10     $1,251.10      -$890.00

Apr 2024         $0.00            $0.00     $0.00        $12.84       $0.00       $12.84 FHA Insurance                     $348.26     $1,251.10      -$902.84

May 2024        $451.16       $432.16      $19.00        $12.84       $15.13      -$2.29 FHA Insurance                     $786.58     $1,668.13       -$881.55
(estimate)

Totals        $5,798.99      $5,185.92    $239.45     $5,300.05   $5,185.95       $98.97


If the activity contains (estimate), then "deposits to" or "payments from" escrow or both are estimated amounts that have not actually occurred.



  Part 4 - Escrow account projections
Escrow account projections from June 2024 to May 2025
                                          What we
                Payments to               expect to                                                              Projected escrow        Balance required
Date              escrow                   pay out          Description                                              balance              in the account
May 2024                                                    Starting balance                                            $786.58                $1,706.42
Jun 2024             $439.46                    $12.84      FHA Insurance                                              $1,213.20               $2,133.04
Jul 2024             $439.46                    $12.84      FHA Insurance                                              $1,639.82               $2,559.66
Aug 2024             $439.46                    $12.84      FHA Insurance                                             $2,066.44                $2,986.28
Sep 2024             $439.46                    $12.84      FHA Insurance                                             $2,493.06                $3,412.90
Oct 2024             $439.46                    $12.84      FHA Insurance                                              $2,919.68               $3,839.52
Nov 2024             $439.46                    $12.84      FHA Insurance                                             $3,346.30                $4,266.14
Dec 2024             $439.46                    $12.84      FHA Insurance                                              $3,772.92               $4,692.76
Dec 2024                  $0.00              $2,261.00      AMERICAN SECURITY INS CO                                   $1,511.92               $2,431.76
Jan 2025             $439.46                    $12.84      FHA Insurance                                              $1,938.54               $2,858.38
Feb 2025             $439.46                    $12.84      FHA Insurance                                             $2,365.16                $3,285.00
Mar 2025             $439.46                    $12.84      FHA Insurance                                              $2,791.78               $3,711.62
Mar 2025                  $0.00             $2,858.39       PHILADELPHIA CITY                                           -$66.61                    $853.23
Apr 2025             $439.46                    $12.84      FHA Insurance                                               $360.01                $1,279.85
May 2025             $439.46                    $12.84      FHA Insurance                                               $786.63                $1,706.47

Totals              $5,273.52                $5,273.47




Wells Fargo Home Mortgage is a division of Wells Fargo Bank, N.A. © 2022 Wells Fargo Bank, N. A. All rights reserved.
NMLSR ID 399801 Member FDIC
Case 17-15021-pmm   Doc   Filed 04/17/24 Entered 04/17/24 15:50:49   Desc Main
                          Document      Page 7 of 7
